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UNITED STATES COURT OF FEDERAL CLAIMS
APPLICA'HON FOR LAW STUDENT APPEARANCE AND CERTIFICATION

Docket Number: No. 18-1784 C
Case Name: LaBonte v. United States

I. Student Contact Information

Name: John Super

Address: Jerome N. Frank Legal Services Organization, P.O. Box 209090

City: New Haven

State: Connecticut

Zip -Code: 06520-9090

Phone: (203) 432-4800

Fax: (203) 432-1426

Email: john.super@ylsclinics.org

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Il. Lavv Student Certitication

Docket Number: No. 18-1784 C

Case Narne: LaBonte v. United States
My signature below certifies that:
A. I am enrolled and in good standing at a law school approved by the Arnerican Bar
Association.

Law ‘School: Yale Law School

B. I have completed legal studies amounting to at least two semesters, or the equivalent thereof
if the school operates on some basis other than a semester basis

C. I have read and am familiar with the Rules of the United States Court of Federal Claims, the

Federal Rules of Evidence, and the American Bar Association Model Rules of Professional
Conduct.

D. I am enrolled for credit in a clinical program at an accredited law school that maintains
malpractice insurance for its activities and conducts its activities under the direction of a faculty

member of the law school.

E. I have not asked for nor received nor will I ask for or receive compensation or remuneration
of any kind directly from the party on Whose behalf I am rendering service.

l certify under penalty of perjury that the foregoing is true and correct. 28 U.S.C. § 1746.

Law Student Signature: W

Date: March 8, 2019

Name: John Super

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III. Supervising Attorney Certification and Motion
Docket Number: No. 18~1784 C

Case Name: LaBonte v. United States

I, Michael J. Wishm`e, certify thatl am a member of the bar ol` this Court and the attorney
of record in the above-referenced case and move to permit the law student applicant to appear
before the Court under my direct supervision pursuant to Rule 83.3(a)(2). l understand that my
direct supervision of the applicant includes co~signing all submissions filed with the Court and
being present at oral argument I personally assume professional responsibility for the law
student’S work and for supervising the quality of his work. l am familiar With the above-
referenced case and am prepared to supplement or correct any written or oral statement made by

the student

-1 ‘?
Signature:‘// `:) /ZZ/; Z_,~_
Date: z / §/ ?/.J\_ cl
Address: Jerome N. Frank Legal Services Organization, P.O. Box 209090
City: New Haven
State: Connecticut
Zip Code: 06520-9090
Phone: (203) 432-4800
FaX: (203) 432-1426

Email: michael.Wishnie@ylsclinics.org

 

 

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IV. Deari Certili`cati,on
Doeke`t `Nurnber: No. §8.»§ 784 C

Case`Name; LaBonte v. United States

l certify that the lawstudent listed below is emiled and in good standing at Yale Law
Sehoclr,~ a law school accredited by the Americaxi Bar Association. 'l am satisfied that the law

student applicant is of good morai’eharacterand is of competent legal ability

Law Student Name: John Sup.er
Dean Signamre:

Date:
S/f‘i/ wm
Name: 7#51[,1’{,(-@¢{ 6€4{ (EU

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Address: lerome N..Frank Legal Services Org_anizaiion, P,O- Box 209090

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C`rty: Ncw 'Haven
S'rare: Connec.tieut

Zip Code: '@6520'-9090
Ph.one: (203} 432~4300

l?ax: (2_03) 432~1426

 

 

 

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UNITED STATES COURT OF FEDERAL CLAIMS
CLIENT AU'I`HORIZATION FOR LAW STUDENT APPEARANCE
Docket Number: No. 18-1784 C

Case Name: LaBonte v. United States

l authorize Iohn Super enrolled al Yale Law School under the supervision of Michael .l.
Wishnie and chee Burbank to appear in Court or at other proceedings and to prepare documents

on my behalf in the above-referenced case.

Signature:

Date: _? »X¢azd/g

Name: Robert J. LaBonte. Jr.

Address: 'Zz/ f ¢ cda/74
Cit_v:

um `ML‘Z/' f/*/
`Zip (lode: c%
O/ ‘Vf@

Plione Number:

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